           Case 2:18-cv-00274-GEKP Document 33 Filed 06/24/19 Page 1 of 4




                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA


    TASHICA       FULTON-GREEN,              and      §
    DANIEL CREVAK, on behalf of                       §
    themselves and all others similarly situated,     §   Civil Action No.: 2:18-cv-00274-GEKP
                  Plaintiffs,                         §
                                                      §
           v.                                         §   PLAINTIFFS’ UNOPPOSED MOTION FOR
                                                      §   FINAL APPROVAL OF CLASS ACTION
                                                      §   SETTLEMENT
    ACCOLADE, INC.,                                   §
              Defendant.                              §
                                                      §

          Plaintiffs, through their undersigned counsel, respectfully file this Motion for Final

Approval of Class Action Settlement, and move the Court to enter the proposed Final Approval

Order:

          1.      finally certifying the Settlement Class1 pursuant to Federal Rules of Civil Procedure

23(a) and 23(b);

          2.      finally approving the Settlement of this action as fair, reasonable, and adequate

pursuant to Rule 23(e);

          3.      finally appointing Plaintiffs as Settlement Class Representatives of the Settlement

Class;

          4.      finally appointing Charles E. Schaffer of Levin Sedran & Berman, Bruce Steckler

of Steckler Gresham Cochran PLLC, and John A. Yanchunis of Morgan & Morgan Complex

Litigation Group. as “Class Counsel” for the Settlement Class;




1
  Unless otherwise defined, capitalized terms have the same meaning attributed to them in the Settlement Agreement
(“SA”), previously filed at ECF No. 20-1, and as amended at ECF No. 26-1, and/or in the Memorandum filed in
support of this motion.
        Case 2:18-cv-00274-GEKP Document 33 Filed 06/24/19 Page 2 of 4




       5.      finally appointing Epiq Systems, Inc. to serve as the Settlement Administrator, and

Rodney Max as the Claims Referee;

       6.      finding that the Notice Program satisfied Rule 23 and due process; and

       7.      entering, in substantially similar form to Exhibit E of the Settlement Agreement

(ECF. No. 20-6), the proposed Final Approval Order and dismissing this case.

       This Motion is based on the accompanying Memorandum of Law; the accompanying

Declaration of Cameron Azari on behalf of Epiq, the declaration of John Yanchunis filed in support

of this motion, and the Declarations of Class Counsel previously filed with the Court in connection

with Plaintiffs’ Motion for Preliminary Approval, and all other records, pleadings and papers on

file in this matter. Pursuant to the terms of the Settlement Agreement, Defendant does not oppose

this Motion.

Dated: June 24, 2019                         Respectfully submitted,

                                             s/ Charles E. Schaffer
                                             Charles E. Schaffer
                                             David C. Magagna Jr.
                                             LEVIN SEDRAN & BERMAN
                                             510 Walnut Street, Suite 500
                                             Philadelphia, PA 19106
                                             Telephone: (215) 592-1500
                                             Facsimile: (215) 592-4663
                                             cschaffer@lfsblaw.com
                                             dmagagna@lfsblaw.com

                                             STECKLER GRESHAM COCHRAN PLLC
                                             Bruce W. Steckler (pro hac vice )
                                             Texas Bar No. 00785039
                                             12720 Hillcrest Road – Suite 1045
                                             Dallas, TX 75230
                                             Telephone: 972-387-4040
                                             Facsimile: 972-387-4041
                                             bruce@stecklerlaw.com

                                             MORGAN & MORGAN
                                             John A. Yanchunis (pro hac vice)
Case 2:18-cv-00274-GEKP Document 33 Filed 06/24/19 Page 3 of 4




                            201 N. Franklin Street, 7th Floor
                            Tampa, FL 33602
                            Telephone: (813) 223-5505
                            Facsimile: (813) 223-5402
                            jyanchunis@ForThePeople.com

                            Counsel for Plaintiffs and the Proposed Settlement
                            Class
       Case 2:18-cv-00274-GEKP Document 33 Filed 06/24/19 Page 4 of 4




                      CERTIFICATE OF UNCONTESTED MOTION

        I hereby certify that this motion is uncontested and filed in accordance with the terms of
the Parties’ Settlement.


                                                    /s/ Charles E. Schaffer
                                                    Charles E. Schaffer
